               Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 1 of 8




                                                      U.S. Department of Justice

                                                      William D. Weinreb
                                                      Acting United States Attorney
                                                      District of Massachusetts

Main Reception: (617) 748-3100                        John Joseph Moakley United States Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                      Boston, Massachusetts 02210

                                                      October 6, 2017

William Gens, Esq.
332 Main Street, Rt. 28
West Dennis, MA 02670

          Re:       United States v. Dean Viprino
                    Criminal No. 17-CR-10354

Dear Mr. Gens:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Dean Viprino (“Defendant”), agree as follows with respect to the above-referenced case:

          1.        Change of Plea

        At the earliest practicable date, but in no event later than December 31, 2017, Defendant
shall waive indictment and plead guilty to the Information attached to this Plea Agreement
charging him with: conspiracy to distribute and possess with intent to distribute forty grams or
more of fentanyl, in violation of Title 21, United States Code, Sections 841(b)(1)(B)(vi) and 846.
Defendant expressly and unequivocally admits that he committed the crime charged in Count One
of the Information, did so knowingly, and is in fact guilty of that offense.

          2.        Penalties

        Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Information: incarceration for between five and 40 years; supervised release for at least four
years; a fine of up to $5,000,000; a mandatory special assessment of $100; restitution; and
forfeiture to the extent charged in the Information.

        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
*
            Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 2 of 8




proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant's immigration
status. Defendant nevertheless affirms his/her decision to plead guilty regardless of any
immigration consequences that this plea may entail, even if the consequence is Defendant's
automatic removal from the United States.

       3.      Sentencing Guidelines

        The sentence to be imposed upon Defendant is within the discretion of the District Court
("Court"), subject to the statutory mandatory minimum and maximum penalties set forth above
and the provisions of the Sentencing Reform Act, and the advisory United States Sentencing
Guidelines ("USSG" or "Guidelines"). While the Court may impose a sentence up to and including
the statutory maximum term of imprisonment and statutory maximum fine, it must consult and
take into account the USSG and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a
sentence.

       The parties agree OR U.S. Attorney will take the position that Defendant's total offense
level under the USSG (prior to any adjustment for acceptance of responsibility) is calculated as
follows:

               • in accordance with USSG § 2D1.1, Defendant's base offense level is 24,
                 because he conspired to distribute and possess with intent to distribute between
                 40 and 160 grams of fentanyl.

        The parties otherwise have no agreement as to the application of the USSG and reserve all
rights with respect to how the USSG apply to Defendant.

      The U.S. Attorney reserves the right to seek an upward departure pursuant to USSG
§ 4A1.3 should any of Defendant's prior convictions be vacated or Defendant's Criminal History
Category otherwise change after Defendant's indictment in this case.

        If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant's medical, mental, and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant's medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.
Attorney forthwith copies of any such records already in Defendant's possession. In addition,
Defendant will authorize Defendant's care providers to discuss Defendant's condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel).


                                                2
           Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 3 of 8




        The U.S. Attorney reserves the right to oppose Defendant's arguments for a departure from,
or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

       Based on Defendant's prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant's adjusted offense level
under USSG § 3E1.1.

         The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant's execution of this Plea Agreement and sentencing, Defendant:

               (a)     Fails to admit a complete factual basis for the plea;

               (b)     Fails to truthfully admit Defendant's conduct in the offense of conviction;

               (c)    Falsely denies, or frivolously contests, relevant conduct for which
                      Defendant is accountable under USSG § 1B1.3;

               (d)    Fails to provide truthful infoiiiiation about Defendant's financial status;

               (e)    Gives false or misleading testimony in any proceeding relating to the
                      criminal conduct charged in this case and any relevant conduct for which
                      Defendant is accountable under USSG § 1B1.3;

               (f)    Engages in acts that form a basis for finding that Defendant has obstructed
                      or impeded the administration of justice under USSG § 3C1.1;

               (g)    Intentionally fails to appear in Court or violates any condition of release;

               (h)    Commits a crime;

               (i)    Transfers any asset protected under any provision of this Plea Agreement;
                      Or

               (j)    Attempts to withdraw Defendant's guilty plea.

         Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

       Nothing in this Plea Agreement affects the U.S. Attorney's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.
                                                 3
            Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 4 of 8




       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence before the Court:

               (a)    incarceration within the Guidelines sentencing range as calculated by the
                      Court at sentencing, excluding departures, but in no event below any
                      applicable mandatory minimum term;

               (b)    a fine within the Guidelines sentencing range as calculated by the Court at
                      sentencing, excluding departures, unless the Court finds that Defendant is
                      not able and, even with the use of a reasonable installment schedule, is not
                      likely to become able to pay a fine;

               (c)    48 months of supervised release;

               (d)    a mandatory special assessment of $100, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing (unless Defendant
                      establishes to the Court’s satisfaction that Defendant is unable to do so);
                      and,

               (f)    forfeiture as set forth in Paragraph 8.

       Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

       5.      Other Post-Sentence Events

               (a)    If Defendant appeals or challenges in a future proceeding (collateral or
                      otherwise) Defendant’s sentence, the U.S. Attorney reserves the right to
                      argue the correctness of the sentence imposed by the Court.


               (b)    If Defendant seeks re-sentencing, Defendant agrees not to seek to be re-
                      sentenced with the benefit of any change to the Criminal History Category
                      that the Court calculated at the time of Defendant’s original sentencing,
                      except to the extent that Defendant has been found actually factually
                      innocent of a prior crime.


               (c)    In the event of a re-sentencing following an appeal from or future challenge
                      (collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves
                      the right to seek a departure from and a sentence outside the USSG if, and

                                                 4
            Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 5 of 8




                       to the extent, necessary to reinstate the sentence the U.S. Attorney
                       advocated at Defendant's initial sentencing pursuant to this Plea
                       Agreement.

       6.      Court Not Bound by Plea Agreement

        The parties' sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the mandatory minimum and
maximum sentence Defendant faces under the applicable law, the sentence to be imposed is within
the sole discretion of the Court. Defendant's plea will be tendered pursuant to Fed. R. Crim. P.
11(c)(1)(B). Defendant may not withdraw his plea of guilty regardless of what sentence is
imposed, or because the U.S. Probation Office or the Court declines to follow the parties' USSG
calculations or recommendations. Should the Court decline to follow the U.S. Attorney's USSG
calculations or recommendations, the U.S. Attorney reserves the right to defend the Court's
calculations and sentence in any direct appeal or future challenge (collateral or otherwise).

       7.      Forfeiture

        Defendant understands that the Court will, upon acceptance of Defendant's guilty plea,
enter an order of forfeiture as part of Defendant's sentence, and that the order of forfeiture may
include assets directly traceable to Defendant's offense, assets used to facilitate Defendant's
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

        Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement. Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

        Defendant hereby waives and releases any claims he may have to any vehicles, currency,
or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.

       8.      Infoimation for Presentence Report

       Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant's assets.

       9.      Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant's conduct and plea of guilty to the charges specified in Paragraph 1 of this
                                                 5
          Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 6 of 8




Plea Agreement.

       10.     Rejection of Plea by Court

       Should Defendant's guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant's motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

       11.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant's pretrial release, or has committed
any crime following Defendant's execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant's guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any infotmation, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

       12.     Who is Bound by Plea Agreement

        This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.




                                                6
          Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 7 of 8




       13.    Modifications to Plea Agreement

       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Eric S. Rosen.

                                                   Very truly yours,

                                                   WILLIAM D. WEINREB
                                                   Acting United States Attorney

                                            By:
                                                   NATHANIEL R. MENDELL
                                                   Chief, Narcotics and Money Laundering
                                                   LINDA RICCI
                                                   KATHERINE FERGUSON
                                                   DeiptSlefs, NMLU

                                                   ERIC S. ROSEN
                                                   Assistant U.S. Attorney




                                               7
       Case 1:17-cr-10354-DPW Document 4 Filed 11/20/17 Page 8 of 8




                       ACKNOWLEDGMENT OF PLEA AGREEMENT

        I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts; (b) there arc no unwritten agreements between me and
the United States Attorney's Office; and (c) no official of the United States has made anyunwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crime to which I have agreed to plead
guilty, the mandatory minimum and maximum penalties for that offense, and the Sentencing
Guideline penalties potentially applicable to it. I am satisfied with the legal representation
provided to me by my attorney. We have had sufficient time to meet and discuss my case. We
have discussed the charge against me, possible defenses I might have, the terms of this Plea
Agreement and whether I should go to trial. I am entering into this Plea Agreement freely,
voluntarily, and knowingly because I am guilty of the offense to which I am pleading guilty, and
I believe this Plea Agreement is in my best interest.



                                                      ean Vi no
                                                     Defendant

                                                     Date:   /6-16 -17
        I certify that Dean Virpino has read this Plea Agreement and that we have discussed its
meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other
offers regarding a change of plea in this case.



                                                     William Gens
                                                     Attorney for Defendant

                                                     Date:    18 -14 -/r7




                                                 8
